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14   DISH WIRELESS L.L.C., d/b/a BOOST
     MOBILE
15
                                    UNITED STATES DISTRICT COURT
16                                NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION

18
19
     PHILIP MICHNO, an individual,                 Case No. 3:22-cv-00396
20
               Plaintiffs,                         JOINT CASE MANAGEMENT
21   v.                                            CONFERENCE STATEMENT
22
     DISH WIRELESS L.L.C., d/b/a BOOST             Date:     May 26, 2022
23   MOBILE, COINBASE, INC., and DOES 1 to         Time:     10:00 a.m.
     10, inclusive,                                Dept:     11
24                                                 Judge:    Hon. James Donato
               Defendants.
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28
     18791.003 4872-8152-7329.1
                         JOINT CASE MANAGEMENT CONFERENCE STATEMENT
                                                                       CASE NO. 3:22-CV-00396
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 1             Plaintiff PHILIP MICHNO and Defendant DISH WIRELESS L.L.C., d/b/a BOOST

 2   MOBILE (“Boost”), submit the following joint case management conference statement

 3   pursuant to this Court’s Standing Order, the Standing Order for All Judges of the Northern

 4   District of California – Contents of Joint Case Management Statement, and Civil Local Rule

 5   16-9.

 6             Defendant COINBASE, INC. has been dismissed from this action and is not included in

 7   this statement.

 8        1. JURISDICTION AND SERVICE

 9             This Court has subject matter jurisdiction pursuant to both diversity jurisdiction and

10   federal question jurisdiction.

11             There are no issues regarding personal jurisdiction.

12             Boost reserves its right to file a forum non conveniens motion, if appropriate.

13             The individual(s) named as DOES who hacked plaintiff’s identity via SIM swapping

14   have yet to be identified. If identified, which seems unlikely, Plaintiff would name them as a

15   defendant to this action.

16        2. FACTS

17             Plaintiff’s Summary

18             On or around May 25, 2021, Plaintiff instantly lost 3.17 Bitcoin, worth approximately

19   $180,000 at the time of filing suit, that he owned and stored on a cryptocurrency exchange

20   platform called Coinbase. In an incident of a rapidly emerging and foreseeable form of identity

21   theft known as “SIM swapping” or “SIM hijacking,” a rogue fraudster swapped Plaintiff’s

22   cellular phone number from BOOST to a different telecommunications carrier, T-Mobile, then

23   gained access to Plaintiff’s Coinbase account through the 2 factor-authentication process and

24   withdrew 3.17 Bitcoin, all within a matter of hours. The individual perpetrating the fraud

25   additionally gained access to Plaintiff’s sensitive private information, such as Plaintiff’s email

26   address account and phone number, and thereby was able to steal Plaintiff’s online identity in

27   its entirety. Plaintiff alleges the rogue fraudster was able to carry out this attack due to a lack

28   of proper verification measures taken by BOOST.

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                                  JOINT CASE MANAGEMENT STATEMENT
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 1             Boost’s Summary

 2             Boost had proper policies and procedures in place in May 2021 to protect the security of

 3   its customers’ accounts, and Boost’s records reflect that it followed those policies and

 4   procedures with respect to Plaintiff’s account. Boost is not responsible for the alleged actions

 5   of a third party fraudster. Boost denies the material allegations of Plaintiff’s Complaint and

 6   denies that Plaintiff is entitled to the relief he seeks. Boost filed a motion to compel arbitration

 7   on March 4, 2022, citing to the binding arbitration clause present in the consumer contract

 8   entered into by Plaintiff and Boost. The motion remains under submission.

 9        3. LEGAL ISSUES
10             Whether Boost’s terms of service are enforceable; particularly, its arbitration and
11   damages limitations clauses.
12        4. MOTIONS
13             On March 4, 2022, Boost filed a motion to compel arbitration, which is currently
14   pending. If the Court denies its motion to compel arbitration, Boost reserves its right to file a
15   forum non conveniens motion, a motion for summary judgment, and any other motion that may
16   be appropriate.
17        5. AMENDMENT OF PLEADINGS
18             At this time, Plaintiff does not anticipate any amendments of any pleadings. If the
19   Court denies Boost’s motion to compel arbitration, Boost requests that the Court set a deadline
20   for amendment of the pleadings not more than 30 days after the Court’s ruling on the motion to
21   compel arbitration.
22        6. EVIDENCE PRESERVATION
23             Counsel for both parties have reviewed the guidelines relating to the Discovery of
24   Electronically Stored Information (“ESI Guidelines”) and have met and conferred pursuant to
25   Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence
26   relevant to the issues reasonably evident in this action.
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 1        7. DISCLOSURES

 2             The parties have agreed that if Boost’s motion to compel arbitration is denied, the

 3   parties will exchange initial disclosures two weeks after the Court issues its order.

 4        8. DISCOVERY

 5             No discovery has been conducted to date, as Boost’s motion to compel arbitration is

 6   still pending. In the event Boost’s motion is denied, the parties will meet and confer regarding a

 7   discovery plan and schedule two weeks after they exchange initial disclosures. In the event that

 8   the Court denies Boost’s motion to compel arbitration in advance of the May 26, 2022 case

 9   management conference, the parties will endeavor to file an updated case management

10   conference statement before the May 26, 2022 case management conference.

11        9. CLASS ACTIONS

12             N/A

13        10. RELATED CASES

14             N/A

15        11. RELIEF

16             Plaintiff seeks damages of approximately $180,000, the approximate fair market value

17   of 3.17 Bitcoin at the time this action was filed. Given Bitcoin is a cryptocurrency which is

18   inherently and constantly influx and particularly volatile, a dispute will likely exist as to what

19   date/time should be used as a reference for calculating the value of plaintiff’s stolen assets (e.g.,

20   the value of the assets at the time of the theft vs. some other point in time). Boost denies that

21   Plaintiff is entitled to the damages he seeks.

22        12. SETTLEMENT AND ADR

23             Plaintiff has reached a confidential settlement agreement with Coinbase, Inc.

24             Boost believes it is premature to discuss resolution prior to the Court’s ruling on

25   Boost’s motion to compel arbitration.

26             If the Court denies Boost’s motion to compel arbitration, the parties will meet and

27   confer and discuss ADR LR 3-5 at the same time they discuss a proposed discovery plan.

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 1        13. CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES

 2             Boost did not consent to have a Magistrate Judge conduct all further proceedings

 3   including trial and entry of judgement. See Doc. No. 8.

 4        14. OTHER REFERENCES

 5             N/A

 6        15. NARROWING OF ISSUES

 7             The parties are unable to discuss narrowing issues by agreement or motion while

 8   Boost’s motion to compel arbitration is pending.

 9        16. EXPEDITED TRIAL PROCEDURE

10             The parties agree this case is not appropriate for the Expedited Trial Procedure of

11   General Order No. 64 Attachment A.

12        17. SCHEDULING

13             Boost believes it is premature to set dates for designation of experts, discovery cutoff,

14   hearing of dispositive motions, pretrial conference, and trial, as its motion to compel arbitration

15   is still pending.

16        18. TRIAL

17             Plaintiff requests a jury trial and estimates the length of trial would be approximately 5

18   days. Boost believes it is premature to estimate the length of trial as its motion to compel

19   arbitration is still pending.

20        19. DISCLOSURE OF NON-PARTY INTERESTED PARTIES OR PERSONS

21             Both parties have filed the Certification of Interested Entities or Persons pursuant to

22   Civil Local Rule 3-16.

23             Plaintiff has no such interest to report other than the named parties. See Doc. 22.

24             DISH Wireless L.L.C. is a wholly owned subsidiary of DISH Wireless Holding LLC,

25   which is a wholly owned subsidiary of DISH Network Corporation. DISH Network

26   Corporation has no parent corporation and, based solely on a review of Form 13D and Form

27   13G filings with the Securities and Exchange Commission, no entity owns more than 10% of

28   DISH Network Corporation’s stock other than Dodge & Cox.
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 1        20. PROFESSIONAL CONDUCT

 2             Counsel for both parties have reviewed the Guidelines for Professional Conduct for the

 3   Northern District of California.

 4        21. OTHER MATTERS

 5             None.

 6    Dated: May 19, 2022                                 Respectfully submitted,

 7                                                        THE ROBIN HOOD LAWYERS, LLP

 8                                               By: /s/ Alex Farzan
                                                     Alex Farzan
 9                                                   Attorney for Plaintiff
                                                     PHILIP MICHNO
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12
      Dated: May 19, 2022                                 Respectfully submitted,
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                                                          COBLENTZ PATCH DUFFY & BASS LLP
14
                                                 By: /s/ Clifford E. Yin
15                                                   Clifford E. Yin
                                                     Attorneys for Defendant
16
                                                     DISH WIRELESS L.L.C., d/b/a BOOST
17                                                   MOBILE

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